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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

RADHA GEISMANN, M.D., P.C., individually and )
on behalf of all others similarly situated,  )
                                             )
                                Plaintiff,   )
                                             ) Case No.: 4:15-cv-00603-AGF
                v.                           )
                                             )
GE HEALTHCARE, INC.,                         )
and JOHN DOES 1-10,                          )
                                             )
                                Defendants.  )

       PLAINTIFF RADHA GEISMANN, M.D., P.C.’S AND DEFENDANT GE
    HEALTHCARE, INC.’S STIPULATED DISMISSAL OF INDIVIDUAL CLAIMS
              AGAINST DEFENDANT GE HEALTHCARE, INC.
                and JOHN DOES 1-10 WITHOUT PREJUDICE

       COMES NOW Plaintiff RADHA GEISMANN, M.D., P.C. and Defendant GE

HEALTHCARE, INC. and pursuant to Rule 41 (a) (1) (A) (ii) hereby stipulates to dismissal of

Plaintiff RADHA GEISMANN, M.D., P.C.’s individual claims against GE Healthcare, Inc. and

John Does 1-10 without prejudice. Each party to bear its own costs.


/s/Max G. Margulis                                  /s/ Henry Pietrkowski
Max G. Margulis                                     Henry Pietrkowski, IL #6230049, admitted Pro
                                                    Hac Vice
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                                CERTIFICATE OF SERVICE

         I hereby certify that on the 10th day of February, 2016, I caused the foregoing to be
electronically filed with the Court using the CM/ECF system which will send notification of such
filing to the email addresses denoted on the Electronic Mail Notice List.


                                     /s/ Max G. Margulis




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